                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE
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In re:                                                         :         Chapter 11
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PROMISE HEALTHCARE GROUP, LLC, et al.,1 :                                Case No. 18-12491 (CSS)
                                                               :
                  Debtors.                                     :         (Jointly Administered)
                                                               :
                                                               :         Hearing Date: December 4, 2018 at 11:00 a.m. (ET)
                                                               :         Obj. Deadline: November 27, 2018 at 4:00 p.m. (ET)
                                                                         Re: Docket No. 37
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                                   NOTICE OF MOTION AND HEARING

        PLEASE TAKE NOTICE that, on November 6, 2018, the above-captioned debtors
(collectively, the “Debtors”) filed the Debtors' Motion for Entry of Orders (I)(A) Establishing
Bidding Procedures Relating to the Sale of Certain of the Debtors' Assets, Including Approving a
Break-Up Fee and Expense Reimbursement, (B) Establishing Procedures Relating to the
Assumption and Assignment of Certain Executory Contracts and Unexpired Leases, Including
Notice of Proposed Cure Amounts, (C) Approving Form and Manner of Notice Relating Thereto,
and (D) Scheduling a Hearing to Consider the Proposed Sale; (II)(A) Approving the Sale of
Certain of the Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances, and
Interests, (B) Authorizing the Assumption and Assignment of Certain Executory Contracts and
Unexpired Leases, and (C) Authorizing Success Healthcare 1, LLC to Grant Liens; and (III)
Granting Related Relief [D.I. 37] (the “Motion”) with the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”).

        PLEASE TAKE FURTHER NOTICE that a hearing with respect to the procedural
relief and the approval of the Stalking Horse Protections2 requested in the Motion, as described

1 The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification number, are
as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Professional Rehabilitation Hospital, L.L.C. (5340), Promise
Healthcare #2, Inc. (1913), Promise Healthcare Group, LLC (1895), Promise Healthcare Holdings, Inc. (2601), Bossier Land
Acquisition Corp. (6644), HLP of Los Angeles, LLC (9102), HLP of Shreveport, Inc. (1708), HLP Properties at The Villages
Holdings, LLC (0006), HLP Properties at the Villages, L.L.C. (1938), HLP Properties of Vidalia, LLC (4255), HLP Properties,
Inc. (0068), Promise Healthcare of California, Inc. (9179), Promise Healthcare, Inc. (7953), Promise Hospital of Ascension, Inc.
(9219), Promise Hospital of Baton Rouge, Inc. (8831), Promise Hospital of Dade, Inc. (7837), Promise Hospital of Dallas, Inc.
(0240), Promise Hospital of East Los Angeles, L.P. (4671), Promise Hospital of Florida at The Villages, Inc. (2171), Promise
Hospital of Louisiana, Inc. (4886), Promise Hospital of Lee, Inc. (8552), Promise Hospital of Overland Park, Inc. (5562),
Promise Hospital of Phoenix, Inc. (1318), Promise Hospital of Salt Lake, Inc. (0659), Promise Hospital of Vicksburg, Inc.
(2834), Promise Hospital of Wichita Falls, Inc. (4104), Promise Properties of Dade, Inc. (1592), Promise Properties of Lee, Inc.
(9065), Promise Properties of Shreveport, LLC (9057), Promise Skilled Nursing Facility of Overland Park, Inc. (5752), Promise
Skilled Nursing Facility of Wichita Falls, Inc. (1791), Quantum Health, Inc. (4298), Quantum Properties, L.P. (8203), St. Alexius
Hospital Corporation #1 (2766), St. Alexius Properties, LLC (4610), Success Healthcare 1, LLC (6535), Success Healthcare 2,
LLC (8861), Success Healthcare, LLC (1604), Vidalia Real Estate Partners, LLC (4947), LH Acquisition, LLC (2328), Promise
Behavioral Health Hospital of Shreveport, Inc. (1823), Promise Rejuvenation Centers, Inc. (7301), Promise Rejuvenation Center
at the Villages, Inc. (7529), and PHG Technology Development and Services Company, Inc. (7766). The mailing address for the
Debtors, solely for purposes of notices and communications, is 999 Yamato Road, 3rd FL, Boca Raton, FL 33431.

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in the proposed Order (A) Establishing Bidding Procedures Relating to the Sale of Certain of the
Debtors’ Assets, Including Approving a Break-Up Fee and Expense Reimbursement, (B)
Establishing Procedures Relating to the Assumption and Assignment of Certain Executory
Contracts and Unexpired Leases, Including Notice of Proposed Cure Amounts, (C) Approving
Form and Manner of Notice Relating Thereto, (D) Scheduling a Hearing to Consider the
Proposed Sale, and (E) Granting Related Relief (the “Procedures Order”) appended as Exhibit A
to the Motion, will be held on December 4, 2018 at 11:00 a.m. (Eastern Time) before
Honorable Christopher S. Sontchi at the United States Bankruptcy Court for the District of
Delaware, 824 Market Street, 5th Floor, Courtroom 6, Wilmington, Delaware 19801.

        PLEASE TAKE FURTHER NOTICE that responses or objections to the entry of the
Procedures Order, if any, must be made in writing, filed with the Clerk of the Bankruptcy Court,
824 North Market Street, 3rd Floor, Wilmington, Delaware 19801, and served upon and received
by the following parties on or before November 27, 2018 at 4:00 p.m. (Eastern Time): (a)
DLA Piper LLP (US), 1201 North Market Street, Suite 2100, Wilmington, Delaware 19801,
Attn:      Stuart    Brown       (stuart.brown@dlapiper.com)       and       Kaitlin    Edelman
(kaitlin.edelman@dlapiper.com); and (b) Waller Lansden Dortch & Davis, LLP, 511 Union
Street, Suite 2700, Nashville, TN 37219, Attn: John Tishler (john.tishler@wallerlaw.com); (ii)
the Office of the United States Trustee, J. Caleb Boggs Federal Building, 844 King St., Lockbox
35, Wilmington DE 19801, Attn: Brya Keilson (brya.keilson@usdoj.gov); (iii) counsel for Wells
Fargo: (a) McGuireWoods LLP, 1251 6th Ave, 20th floor, New York, NY 10020, Attn: Brian
Swett (bswett@mcguirewoods.com); and (b) Richards, Layton & Finger, PA, 920 N King St,
Wilmington, Delaware 19801, Attn: John Knight (knight@rlf.com); and (iv) counsel to any
statutory committee of unsecured creditors.

     PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS TO THE
ENTRY OF THE PROCEDURES ORDER ARE TIMELY FILED AND SERVED IN
ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT MAY GRANT
THE PROCEDURES ORDER WITHOUT FURTHER NOTICE OR HEARING.



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2   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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Dated: November 8, 2018   DLA PIPER LLP (US)
Wilmington, Delaware
                          /s/ Stuart M. Brown
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                          Kaitlin MacKenzie Edelman (#5924)
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                          -and-

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                          Proposed Attorneys for the Debtors and
                          Debtors in Possession




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